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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

       v.                                       Civil Action No. 1:21-cv-02131 (CJN)

PATRICK BYRNE.
Defendant.




                          AMENDED SCHEDULING ORDER

      The following amended schedule shall govern discovery:

  1. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: October 26, 2023

  2. Deadline for Completion of Fact Discovery: May 30, 2024

  3. Deadline for Proponents to Designate Expert Witnesses and Produce Expert

      Reports under Fed. R. Civ. P. 26(a)(2): June 27, 2024

  4. Deadline for Opponents to Designate Expert Witnesses and Produce Expert

      Reports under Fed. R. Civ. P. 26(a)(2): July 31, 2024

  5. Deadline for Proponents to Produce Responsive Expert Reports: August 29, 2024

  6. Deadline for Expert Depositions: October 3, 2024

  7. Status Conference: In-person Status Conference at 11:00 AM on October 17, 2024

  8. Deadline to File Dispositive Motions: November 14, 2024

  9. Deadline to File Oppositions to Dispositive Motions: December 19, 2024

  10. Deadline to File Replies in Support of Dispositive Motions: January 30, 2025
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It is so ORDERED.
                                                _________________________
DATE: July 24, 2023
                                                CARL J. NICHOLS

                                                United States District Judge
